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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 NO. 4:03CR00120-01 JLH

DONJA M. WAINWRIGHT                                                               DEFENDANT

                                           ORDER

       Pending before the Court is the government’s motion for revocation of defendant Donja M.

Wainwright’s supervised release. Document #75. The government has also requested that a

summons be issued for defendant.

       IT IS HEREBY ORDERED that a hearing on the government’s motion to revoke is

scheduled to begin on WEDNESDAY, MAY 7, 2014, at 9:30 A.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to

show cause why defendant’s supervised release should not be revoked.

       The request for issuance of summons is granted. The Clerk of Court is directed to issue a

summons for defendant DONJA M. WAINWRIGHT and deliver to the United States Marshal for

service.

       Assistant Federal Public Defender Justin Eisele is hereby appointed to represent defendant

during revocation proceedings.

       IT IS SO ORDERED this 16th day of April, 2014.


                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
